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                     EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN


  AARON SMITH, individually and on behalf
  of all similarly situated individuals,

         Plaintiff,                                 Case No. 2:18-cv-10501-DML-RSW

                 v.                                 Hon. David M. Lawson
                                                    Magistrate Judge R. Steven Whalen
  SILVERSTAR DELIVERY, LTD.,
  AMAZON.COM, LLC, and
  AMAZON.COM SERVICES, INC.,

         Defendants.



                 JOINT STIPULATION OF SETTLEMENT AND RELEASE

        This Joint Stipulation of Settlement and Release (the “Agreement”) is entered into by and
 between Named Plaintiff (as hereinafter defined) and the FLSA Collective of individuals (as
 hereinafter defined), and Defendants Silverstar, LTD. (“Silverstar”), Amazon.com, LLC, and
 Amazon.com Services, Inc. (collectively, “Amazon”) (hereinafter “Defendants”).

                                            RECITALS

         WHEREAS Plaintiff Aaron Smith, a former employee at Silverstar, filed the case
 titled Aaron Smith, individually and on behalf of all similarly situated individuals v.
 Silverstar, LTD., Amazon.com, LLC, and Amazon.com Services, Inc., Case No. 2:18-cv-
 10501-DML-RSW, currently pending before the United States District Court for the
 Eastern District of Michigan, alleging claims of unpaid overtime wages and improper
 recordkeeping on behalf of himself and those similarly situated under the Fair Labor
 Standards Act, 29 U.S.C.§ 201, et seq. (“FLSA”);

        WHEREAS, Plaintiff has sought the recovery of, among other things, minimum wages,
 overtime wages, straight-time wages, liquidated damages, attorneys’ fees, and costs;

         WHEREAS, Defendants deny and continue to deny all of the allegations made by
 Plaintiff, and deny and continue to deny that they are liable or owe damages to anyone with
 respect to the alleged facts or causes of action alleged, or that any claims asserted by Plaintiff
 may proceed on a class or collective action basis. Nonetheless, without admitting or conceding
 any arguments, issues, liability, or damages whatsoever, including that Amazon is a joint
 employer of Plaintiff or anyone on whose behalf Plaintiff has attempted to bring claims, or that
 any claims alleged may proceed on a class or collective action basis, Defendants have agreed to
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 settle the claims on the terms and conditions set forth in this Agreement to avoid the burden and
 expense of continuing to defend against litigation;

      WHEREAS, Class Counsel (as hereinafter defined) has interviewed Plaintiff and other
 FLSA Collective Members and reviewed and analyzed documents produced by Defendants;

         WHEREAS, Class Counsel has analyzed and evaluated the merits of the claims made
 against Defendants, and the impact of this Agreement on Plaintiff and the FLSA Collective;

         WHEREAS, based upon their analysis and their evaluation of a number of factors, and
 recognizing the substantial risks of litigation with respect to certain claims, including the
 possibility that any litigation might result in a recovery that is less favorable to the FLSA
 Collective, and that would not occur for several years, or at all, Class Counsel is satisfied that the
 terms and conditions of this Agreement are fair, reasonable, and adequate and that this
 Agreement is in the best interests of the FLSA Collective;

         NOW, THEREFORE, in consideration of the mutual covenants and promises set forth in
 this Agreement, as well as the good and valuable consideration provided for herein, the Parties
 hereto agree to a full and complete settlement of the claims at issue on the following terms and
 conditions:

 1.     DEFINITIONS

        The defined terms set forth herein shall have the meanings ascribed to them below.

 1.1    Agreement. “Agreement” shall mean this Joint Stipulation of Settlement and Release,
        and all exhibits.

 1.2    Applicable Hours. “Applicable Hours” shall mean, as reflected on Silverstar’s internal
        records, any hours an FLSA Collective Member of Silverstar worked as a delivery driver
        delivering packages to Amazon’s customers in Michigan between three years from the
        date of when the individual opted into the lawsuit or October 6, 2016, whichever date is
        earlier, through January 24, 2018 and for which his or her employer did not pay overtime
        wages for the workweek worked.

 1.3    Claimant. “Claimant” shall mean any FLSA Collective Member who timely submits a
        valid and complete Consent to Join Form on or before the Consent to Join Deadline in
        accordance with Section 2.3 of this Agreement, or a FLSA Collective Member whose
        Consent to Join Form is accepted in accordance with Section 3.4 below.

 1.4    Claims Administrator. “Claims Administrator” shall mean the entity selected by the
        Parties to provide notice to the Collective and administer payment of the settlement to
        FLSA Collective Members. The Parties have preliminarily identified RG/2 Claims
        Administration LLC to act as the Claims Administrator.

 1.5    Class Counsel. “Class Counsel” shall mean Laura Reasons, Amy Keller, Kenneth
        Abbarno, and Mark Abramowitz of DiCello Levitt & Casey LLC.


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 1.6    Complaint. “Complaint” shall mean the First Amended Collective Action Complaint that
        Plaintiff filed in the Litigation (docket entry 10).

 1.7    Consent to Join Deadline. “Consent to Join Deadline” shall mean the date that is sixty
        (60) days after the Claims Administrator mails the Consent to Join Forms to FLSA
        Collective Members pursuant to Section 2.3 of this Agreement. If the Claims
        Administrator re-mails the Consent to Join Form to any individual pursuant to Section
        2.3(C) of this Agreement because the first mailing was returned as undeliverable, the
        Consent to Join Deadline for such individuals shall be the later of (a) sixty (60) days after
        the original mailing to all Collective Members, or (b) thirty-five (35) days after the re-
        mailing. If the Consent to Join Deadline falls on a Sunday or holiday, the deadline to
        return Consent to Join Forms will be the next business day that is not a Sunday or
        holiday.

 1.8    Consent to Join Form. “Consent to Join Form” shall mean the form provided to FLSA
        Collective Members to submit in order to obtain their Individual Settlement Amount
        pursuant to this Agreement. The Consent to Join Form shall be in the form attached
        hereto as Exhibit C.

 1.9    Consent to Join Period. “Consent to Join Period” shall mean the period of time in
        between the Administrator’s mailing of the Consent to Join Forms and the Consent to
        Join Deadline.

 1.10   Court. “Court” shall mean the U.S. District Court for the Eastern District of Michigan.

 1.11   Covered Period. “Covered Period” shall mean October 6, 2016 (or three years before the
        date when an individual opted into this Litigation, whichever is earlier) to January 24,
        2018.

 1.12   Defendants. “Defendants” shall mean Silverstar and Amazon, the Defendants in this
        action.

 1.13   Defense Counsel. “Defense Counsel” shall mean Stephanie L. Sweitzer, and Meredith E.
        Riccio of Morgan, Lewis & Bockius LLP, and Daniel L. Villaire of Howard & Howard
        Attorneys.

 1.14   Effective Date. The “Effective Date” shall mean the date on which the Court enters the
        Order Granting Approval and Dismissing the Action.

 1.15   Escrow Account. “Escrow Account” shall mean the FDIC insured interest-bearing
        account(s) created and controlled by the Claims Administrator.

 1.16   Final Individual Settlement Amount. “Final Individual Settlement Amount” shall mean
        the final gross amount (not including any Service Award amount) sent to Plaintiff or any
        Claimant under this Agreement.

 1.17   FLSA Collective; FLSA Collective Member. “FLSA Collective” shall mean individuals
        employed by Silverstar as delivery drivers who delivered packages to Amazon’s

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        customers in Michigan and who worked during the Covered Period. A member of the
        FLSA Collective is a “FLSA Collective Member.”

 1.18   Individual Settlement Amount. “Individual Settlement Amount” shall mean the amount
        offered to each FLSA Collective Member pursuant to Section 3 of this Agreement.

 1.19   Litigation. “Litigation” shall mean the case titled Smith v. Silverstar, LTD, et al., Case
        No. 2:18-cv-10501-DML-RSW, pending in the U.S. District Court for the Eastern
        District of Michigan.

 1.20   Maximum Settlement Amount. “Maximum Settlement Amount” shall have the
        meaning defined in Section 3.1 below.

 1.21   Net Settlement Fund. “Net Settlement Fund” shall mean the remainder of the Settlement
        Fund after deductions for court-approved attorneys’ fees and costs as described in Section
        3.2 and court-approved service payments to Plaintiff as described in Section 3.3. The Net
        Settlement Fund shall be used to pay all amounts due to Claimants.

 1.22   Order Granting Approval and Dismissing the Action. “Order Granting Approval and
        Dismissing the Action Without Prejudice, to Automatically Convert to With Prejudice”
        or “Order Granting Approval” shall mean the Order entered by the Court approving, inter
        alia, the terms and conditions of this Agreement, the manner and timing of providing
        notice to the FLSA Collective Members, and the time period for opt-ins, as well as
        dismissing the case without prejudice, to automatically convert to a with prejudice
        dismissal within six (6) months following the entry of the Order Granting Approval. A
        proposed version of the Order Granting Approval shall be submitted to the Court in the
        form attached hereto as Exhibit A.

 1.23   Parties. “Parties” shall refer to the Plaintiff and Defendants.

 1.24   Plaintiff. “Plaintiff” shall mean Aaron Smith, and shall also include any and all of his
        representatives, heirs, administrators, executors, beneficiaries, agents, and assigns of such
        individuals, as applicable and without limitation.

 1.25   Releasees. “Releasees” shall mean the Defendants and their present and former affiliates,
        divisions, members, joint venture partners, subsidiaries, parents, predecessors, any
        merged entity or merged entities and/or its or their present and former officers, partners,
        directors, employees, agents, attorneys, shareholders and/or successors, insurers or
        reinsurers, employee benefit plans (and the trustees, administrators, fiduciaries, agents,
        representatives, insurers and reinsurers of such plans), assigns, trustees, heirs,
        administrators, executors, representatives and/or principals thereof, and all persons or
        entities acting by, through, under or in concert with any of them, and any individual or
        entity that could be jointly liable with any of them.

 1.26   Settlement. The “Settlement” shall mean the settlement embodied in this Agreement, and
        all exhibits.



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 1.27   Settlement Administration Expenses. “Settlement Administration Expenses” are those
        expenses incurred and charged by the Claims Administrator in effectuating the
        Settlement. They include the Claims Administrator’s invoices, the costs of administering
        the Escrow Account, and any other cost or expense other than the Final Individual
        Settlement Amounts, Attorneys’ Fees and Costs as awarded by the Court, and Plaintiff’s
        Service Award, as awarded by the Court. Defendants will be solely responsible for
        paying the Settlement Administration Expenses, which will be paid by Defendants
        separate and apart from the Settlement Fund or Net Settlement Fund. The Settlement
        Administration Expenses will not come out of the Settlement Fund or Net Settlement
        Fund.

 1.28   Settlement Fund. The “Settlement Fund” shall be the settlement fund created by the
        payment by the Defendants of up to the Maximum Settlement Amount of One Hundred
        Fifty Thousand Dollars ($150,000).

 1.29   Unclaimed Funds. “Unclaimed Funds” shall mean the aggregate amount of Individual
        Settlement Amounts not claimed by FLSA Collective Members in a timely and valid
        manner pursuant to Section 2.3 of this Agreement, or not otherwise accepted pursuant to
        Section 3.4.

 2.     APPROVAL AND COLLECTIVE NOTICE

 2.0    Stipulation to Certification. The Parties stipulate, for settlement purposes only, to the
        certification by the Court of a collective action as to all claims encompassed by this
        Settlement pursuant to the FLSA. If for any reason the Court does not approve this
        stipulation or does not enter an Order Granting Approval, or if this Settlement is lawfully
        terminated for any other reason, the preliminary and conditional certification of the FLSA
        Collective shall become null and void. The fact of certification shall not be cited to, used,
        or admissible in any other judicial, administrative, or arbitral proceeding for any purpose
        or with respect to any issue, substantive or procedural. If this Agreement is revoked at
        any time, pursuant to Sections 2.6 and/or 2.7 of this Agreement, or otherwise, Defendants
        agree that they will cooperate with Plaintiff to move the Court for an order resetting the
        remaining deadlines, including the deadline for Plaintiff’s motion for conditional
        certification.

 2.1    Retention of Claims Administrator. The parties have identified RG/2 Claims
        Administration LLC to act as the Claims Administrator, and Defendants, as stated herein,
        shall pay the Claims Administrator’s expenses and fees. The Claims Administrator shall
        be responsible for the claims administration process and distributions to Claimants as
        provided herein, as well as for making any mailings and performing other services as
        required under this Agreement. The Claims Administrator will provide equal access and
        reporting regarding the settlement to all Parties. The Parties agree to cooperate with the
        Claims Administrator and assist it in administering the Settlement.

 2.2    Final Order and Approval by the Court. As soon as practicable and without undue
        delay, and no later than November 15, 2018, the Parties agree to jointly seek the Court’s
        approval of the terms of this Agreement and to dismiss the Litigation without prejudice,

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       to automatically convert to a with prejudice dismissal within six (6) months following the
       entry of the Order Granting Approval.

       (A)    A condition precedent to this Agreement is the Court’s approval of the Order
              Granting Approval, in substantially the same form as Exhibit A. The Parties agree
              to jointly seek approval of the Settlement by filing with the Court a Motion for
              Approval of Settlement.

       (B)    The parties shall provide to the Court for review and approval this Agreement,
              with exhibits, (i) the proposed Order Granting Approval and Dismissing the
              Action Without Prejudice; (ii) the Notice of Settlement of Collective Action
              Lawsuit to all FLSA Collective Members attached hereto as Exhibit B; (iii) the
              Consent to Join Form (in the case of the FLSA Collective Members) attached
              hereto as Exhibit C, and such other information as the Court may request. This
              submission to the Court will also include stipulations for purposes of settlement
              only that the case is certified as a collective action.

 2.3   Collective Notice and FLSA Collective Member Consent to Join Forms

       (A)    Within thirty (30) days after the Order Granting Approval, or as soon thereafter as
              practicable, Silverstar will provide the Claims Administrator and Class Counsel
              with a list, in electronic form, of the names, last known addresses, e-mail
              addresses, and the Applicable Hours worked by all FLSA Collective Members
              (“Notice List”). Prior to the provision of the Notice List, the Claims Administrator
              shall execute an agreement, in a form acceptable to Defendants, not to use or
              disclose the information from the Notice List except as is necessary to perform
              the services required of the Claims Administrator under this Stipulation. Class
              Counsel agrees to use the Notice List only for purposes of monitoring and
              ensuring compliance with this Agreement and will not disclose it to Plaintiff or
              otherwise. The complete Notice List and the data and information contained in
              the Notice List shall not be disclosed to anyone else external to the Claims
              Administrator or Class Counsel without the written consent of Defendants. The
              Claims Administrator may also disclose to Class Counsel the names, last known
              addresses, e-mail addresses, and the Applicable Hours worked by Plaintiff and
              Claimants. Nothing in this paragraph shall prevent Class Counsel from
              communicating with FLSA Collective Members before notice is mailed or from
              communicating with any Claimant at any time.

       (B)    Within five (5) calendar days after receiving the Notice List, or as soon thereafter
              as practicable, the Claims Administrator shall calculate the estimated Individual
              Settlement Amounts of all FLSA Collective Members. The Claims Administrator
              shall provide the calculations and Individual Settlement Amounts to Class
              Counsel. Class Counsel shall bring any disputes in the calculations to the
              attention of Defense Counsel and the Claims Administrator within three (3)
              business days of receipt of the calculations and amounts. The Parties will
              endeavor to resolve and agree upon the calculations and estimated Individual
              Settlement Amounts. If they cannot resolve any such disputes, the calculation of

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             the estimated Individual Settlement Amounts will be determined by David
             Calzone, the Mediator, acting as arbitrator.

       (C)   Within ten (10) calendar days after receiving the Notice List, or as soon thereafter
             as practicable, the Claims Administrator shall mail, via First Class United States
             mail, postage prepaid, using each member’s last known address as provided by
             Silverstar and email using the last-known email addresses as provided by
             Silverstar: (i) the Notice of Settlement of Collective Action Lawsuit to all FLSA
             Collective Members; (ii) a Consent to Join Form; and (iii) instructions to request a
             Consent to Join Form which may be completed electronically through Docusign
             or another similar application. The Claims Administrator shall give the Parties
             two (2) business days’ notice before the Notices and Consent to Join Forms are
             sent out. The Notices/Consent to Join Forms shall inform all FLSA Collective
             Members of their rights under this Agreement, of the formulas to calculate their
             estimated Individual Settlement Amounts, and of the amounts of their estimated
             Individual Settlement Amounts. The Claims Administrator shall attempt to obtain
             the correct address of any FLSA Collective Members for whom the Notice is
             returned by the post office as undeliverable and shall attempt one re-mailing as
             described below. Defense Counsel and Class Counsel have the right to make
             inquiries and receive any information from the Claims Administrator as is
             necessary to the administration of this Settlement.

       (D)   If any Notices and Consent to Join Forms are returned as undeliverable during the
             Consent to Join Period, the Claims Administrator shall forward them to any
             forwarding addresses provided by the U.S. Postal Service. If no such forwarding
             address is provided, the Claims Administrator shall perform one skip trace during
             the Consent to Join Period using that FLSA Collective Member’s social security
             number to attempt to obtain the most recent address for the FLSA Collective
             Member.

       (E)   Within three (3) business days of when the Claims Administrator re-mails the
             Notice to any FLSA Collective Members for whom the Notice is returned as
             undeliverable, the Claims Administrator will inform Class Counsel that the Notice
             was returned undeliverable, and of the original mailing address(es) and the re-
             mailing address(es). Class Counsel may, at their sole discretion, attempt to locate
             additional contact information for any such FLSA Collective Member and may
             attempt to provide Notice to any such FLSA Collective Member through mail
             and/or e-mail.

       (F)   The Claims Administrator shall, within ten (10) calendar days after the first
             mailing of Notice, notify Class Counsel and Defense Counsel of the precise end
             date of the Consent to Join Period.

       (G)   The Claims Administrator shall notify FLSA Collective Members who submit
             deficient Consent to Join Forms (“Deficient Claimant(s)”) of the deficiency
             within five (5) business days of receipt. Deficient Claimants will have the longer
             of fifteen (15) days from notification of a deficient Consent to Join Form or the

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              Consent to Join Deadline to cure said deficiencies. Deficiencies that are not cured
              in accordance with the preceding sentence shall render the Deficient Claimant’s
              claim waived, unless the deficiency is excused and the Claim Form accepted in
              accordance with Section 3.4. Within five (5) business days of receipt of a
              deficient Consent to Join Form, the Claims Administrator will also inform Class
              Counsel of the identify and contact information of any FLSA Collective Members
              who submit deficient Consent to Join Forms. Class Counsel may, at their sole
              discretion contact any such FLSA Collective Members for the purpose of
              assisting them to cure said deficiency

       (H)    Except for Consent to Join Forms accepted in accordance with Section 3.4, each
              FLSA Collective Member must submit his/her completed Consent to Join Form to
              the Claims Administrator no later than the Consent to Join Deadline to be eligible
              for his or her Final Individual Settlement Amount. The postmark date or email
              date of the Consent to Join Form mailed by the Claims Administrator to the FLSA
              Collective Member and the postmark date or date of signing through Docusign or
              another similar application of the Consent to Join Form mailed by the FLSA
              Collective Member to the Claims Administrator shall be deemed the exclusive
              means for determining whether an FLSA Collective Member timely submitted
              his/her Consent to Join Form. Any Claimant who seeks to challenge a denial of
              payment under this Settlement based on the untimeliness of his/her Consent to
              Join Form must provide the Claims Administrator with the postmark date on
              his/her Consent to Join Form.

 2.4   Claims Administrator Reporting. After issuing the Notice and Consent to Join Forms,
       the Claims Administrator shall provide periodic reports to counsel for the Parties with
       respect to the numbers and names of individuals submitting timely and valid Consent to
       Join Forms, deficient Consent to Join Forms, and untimely Consent to Join Forms.
       Within ten (10) calendar days of the close of the Consent to Join Deadline, the Claims
       Administrator shall prepare a final list of all Claimants who timely submitted a valid
       Consent to Join Form, including those whose Consent to Join Forms were accepted in
       accordance with Section 3.4, together with copies of the applicable Consent to Join
       Forms, and provide such information and documents to Defense Counsel and Class
       Counsel. The Claims Administrator will also report to the Defense Counsel and Class
       Counsel the names of any individuals making or disputing claims, Consent to Join Forms,
       and reason for rejection, of any untimely, deficient, or disputed claims that are not
       accepted pursuant to Section 3.4. Defense Counsel shall not withhold contact
       information for those individuals who are disputing claims, whose claims were rejected,
       or whose claims were disputed from Class Counsel and Class Counsel may reach out to
       such individuals for the purposes and under the terms as described in Section 2.3, herein.
       The Claims Administrator will update and supplement this information as necessary. The
       Parties will cooperate to ensure that appropriate consents are filed with the Court for all
       Claimants.

 2.5   Entry of Judgment. In their proposed Order Granting Approval, the Parties will request
       that the Court, among other things, (a) certify the Collective for purposes of settlement
       only, (b) enter Judgment in accordance with the terms of this Agreement, (c) approve the

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        Settlement as fair, adequate, reasonable, and binding on Plaintiff and all Claimants,
        (d) dismiss the Litigation with prejudice, (e) enter an order permanently enjoining
        Plaintiff and all Claimants from pursuing and/or seeking to reopen claims that have been
        released by this Agreement, and (f) incorporate the terms of this Settlement and Releases.

  2.6   Right to Revoke. Defendants or Plaintiff have the right to withdraw from the Settlement
        at any time prior to the entry of the Order Granting Approval if: (a) the terms of this
        Agreement construed by the Court are materially different from the Parties’ Agreement;
        or (b) one Party materially breaches the Agreement. Before withdrawing from the
        Settlement, any Party must give the remaining Parties fourteen (14) days advanced notice
        of their intent to withdraw, the reasons for their intent to withdraw, and provide the
        remaining Parties an opportunity to cure any alleged breach of the Agreement before any
        withdrawal. If there is a dispute over whether a Party’s withdrawal from the settlement is
        allowed under this provision, then the dispute shall be decided finally by David Calzone,
        the Mediator serving as an arbitrator on this issue.

  2.7   Effect of Revocation or Failure to Grant Final Approval. In the event any Party
        revokes the Settlement pursuant to Section 2.6, (i) this Agreement shall have no force or
        effect, other than the non-admission provisions in Section 3.11; (ii) neither this
        Agreement, nor any other related papers or orders, nor the negotiations leading to the
        Settlement, shall be cited to, used, or admissible in any judicial, administrative, or arbitral
        proceeding for any purpose or with respect to any issue, substantive or procedural; (iii)
        the request for conditional certification of the collective shall become null and void, and
        the request for certification shall not be cited to, used, or admissible in any judicial,
        administrative, or arbitral proceeding for any purpose or with respect to any issue,
        substantive or procedural; (iv) none of the Parties will be deemed to have waived any
        claims, objections, defenses, or arguments with respect to the issue of collective action
        certification or the merits of Plaintiff’ claims or any other issue; and (v) the Litigation
        will continue as if the Agreement had never been entered. If this Agreement is revoked
        at any time, pursuant to Sections 2.6 and/or 2.7 of this Agreement, or otherwise,
        Defendants agree that they will cooperate with Plaintiff to move the Court for an order
        resetting the remaining deadlines, including the deadline for Plaintiff’s motion for
        conditional certification.

  3.    SETTLEMENT TERMS

  3.1   Settlement Payment.

        (A)    Defendants agree to pay a maximum of One Hundred Fifty Thousand Dollars
               ($150,000) (the “Maximum Settlement Amount”), which shall resolve and satisfy
               all monetary obligations under this Agreement (except Settlement Administration
               Expenses), including all attorneys’ fees, litigation costs, payments to Claimants,
               all payroll taxes and all other applicable taxes (with the sole exception and
               exclusion of any employer’s share of payroll taxes as described in Section 3.6),
               interest, and Service Awards. Other than Silverstar’s share of payroll taxes as
               described in Section 3.6 and the Settlement Administration Expenses, as defined


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              in Section 1.27, Defendants shall not pay more than the Maximum Settlement
              Amount.

        (B)   When and if the Court enters the Order Granting Approval, Defendants shall
              deposit into the Escrow Account the Maximum Settlement Amount pursuant to
              the following schedule:

              (1)    Within twenty-one (21) days of the Order Granting Approval Defendant
                     Silverstar will deposit the estimated amount of Administration Costs to the
                     Administrator. Defendants will inform Class Counsel of the amount
                     deposited;

              (2)    Within thirty (30) days of Order Granting Approval Defendant Silverstar
                     will deposit the amount of Thirty-Seven Thousand Five Hundred and
                     00/100 ($37,500.00).

              (3)    Within sixty (60) days of Order Granting Approval Defendant Silverstar
                     will deposit the amount of Thirty-Seven Thousand Five Hundred and
                     00/100 ($37,500.00).

              (4)    Within ninety (90) days of Order Granting Approval Defendant Silverstar
                     will deposit the amount of Thirty-Seven Thousand Five Hundred and
                     00/100 ($37,500.00).

              (5)    Within one-hundred twenty (120) days of Order Granting Approval
                     Defendant Silverstar will deposit the amount of Thirty-Seven Thousand
                     Five Hundred and 00/100 ($37,500.00), and the employers’ share of
                     payroll taxes due on the settlement awards to Class Members.

        (C)   Any interest accrued from the Escrow Account, net of taxes and any fees
              associated with investing such amount, shall immediately be added to and become
              part of the Settlement Fund.

        (D)   Settlement payments will be made on a claims-made basis only. The Claims
              Administrator will calculate the final amounts due to each Claimant as the Final
              Individual Settlement Amount and issue checks payable to the Claimants.

        (E)   Within ninety (90) calendar days following the Order Granting Approval, the
              Claims Administrator will make the following distributions of money from the
              Escrow Account:

              (1)    Paying Class Counsel Court-approved attorneys’ fees, reasonable costs
                     and expenses, as approved by the Court and as described in Section 3.2,
                     which shall not exceed $50,000 of the Maximum Settlement Amount,
                     subject to Court approval.




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        (F)   Within sixty (60) calendar days following the Consent to Join Deadline, the
              Claims Administrator will make the following distributions of money from the
              Escrow Account:

              (1)    Paying the Claims Administrator as described in Section 2.1.

              (2)    Paying Service Awards in the amounts described in Section 3.3, subject to
                     Court approval and provided the recipients have executed their respective
                     releases pursuant to Section 3.8.

              (3)    Paying Claimants their Final Individual Settlement Amounts as described
                     in Section 3.6.

        (G)   The Parties agree that the Escrow Account is intended to be a “Qualified
              Settlement Fund” under Section 468B of the Internal Revenue Code of 1986, as
              amended (the “Code”), 26 U.S.C. Section 468B and Treas. Reg. §1.468B-1, 26
              C.F.R § 1.468B-1, et seq., and will be administered by the Claims Administrator
              as such. The Claims Administrator shall apply for an employer identification
              number (“EIN”) for the Escrow Account pursuant to Internal Revenue Service
              (“IRS”) Form SS-4, and in accordance with Treas. Reg. §1.468B-2(k)(4), 26
              C.F.R § 1.468B-2(k)(4). With respect to the Escrow Account, the Claims
              Administrator shall: (1) calculate, withhold, remit and report each Claimant’s
              share of applicable payroll taxes (including, without limitation, federal, state and
              local income tax withholding, FICA, Medicare and any state or local employment
              taxes), and indemnify Defendants for any penalty arising out of any error or
              incorrect calculation and/or interest with respect to any late deposit of the same;
              (2) satisfy all federal, state and local and income and other tax reporting, return
              and filing requirements with respect to the Escrow Account; and (3) satisfy out of
              the Escrow Account all (i) taxes (including any estimated taxes, interest or
              penalties) with respect to the interest or other income earned by the Escrow
              Account, and (ii) fees, expenses and costs incurred in connection with the opening
              and administration of the Escrow Account and the performance of its duties and
              functions as described in this Stipulation. The aforementioned taxes, fees, costs
              and expenses shall be treated as and included in the costs of administering the
              Escrow Account, which are included in the Settlement Administration Expenses,
              to be paid by Defendants outside of the Settlement Fund and the Net Settlement
              Fund. The Parties and the Claims Administrator shall elect to treat the Settlement
              Fund as coming into existence as a Qualified Settlement Fund on the earliest date
              set forth in Treas. Reg. §1.468B-1(j)(2)(i), 26 C.F.R §1.468B-1(j)(2)(i), and that
              such election statement shall be attached to the appropriate returns as required by
              Treas. Reg. §1.468B-1(j)(2)(ii), 26 C.F.R §1.468B-1(j)(2)(ii). The Parties agree to
              cooperate with the Claims Administrator and one another to the extent reasonably
              necessary to carry out the provisions of this Section 3.1(E). The Claims
              Administrator will agree to indemnify and hold harmless the Parties for and
              against any claims or liabilities resulting from errors or omissions in its
              administration of the Escrow Account. The Defendants (or some other person on
              behalf of the Defendants) shall supply to the Claims Administrator and to the IRS

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               the statement described in Treas. Reg. §1.468B-3(e)(2), 26 C.F.R §1.468B-
               3(e)(2), no later than February 15th of the year following each calendar year in
               which the Defendants (or some other person on behalf of the Defendants) makes a
               transfer to the Escrow Account.

        (H)    The payments pursuant to Section 3.6 shall be considered compensation for
               disputed unpaid wages, penalties, and interest, as set forth in Section 3.7 during
               the period of employment or alleged employment or joint employment with any
               of the Defendants by the Plaintiff and/or Claimants only.

        (I)    It is intended that all transfers by Defendants to the Escrow Account will satisfy
               the “all events test” and the “economic performance” requirement of Section
               461(h)(1) of the Code, 26 U.S.C. Section 461(h)(1), and Treas. Reg. § 1.461-
               1(a)(2), 26 C.F.R. § 1.461-1(a)(2). As such, Defendants shall not be taxed on any
               income of the Escrow Account.

  3.2   Settlement Amounts Payable as Attorneys’ Fees and Costs.

        (A)    Prior to the Court ruling on the Parties’ Order Granting Approval, Class Counsel
               shall petition the Court for attorneys’ fees and reimbursement of reasonable
               litigation costs and expenses from the Settlement Fund of up to $50,000, and
               Defendants shall take no position on Class Counsel’s petition for fees and costs.
               Defendants shall have no additional liability for attorneys’ fees and costs relating
               to the Litigation, the Settlement, or any claims or theories released by this
               Settlement.

        (B)    The substance of Class Counsel’s application for attorneys’ fees and costs is not
               part of this Agreement and is to be considered separately from the Court’s
               consideration of the fairness, reasonableness, adequacy, and good faith of the
               settlement of the Litigation. The outcome of any proceeding related to Class
               Counsel’s application for attorneys’ fees and costs shall not terminate this
               Agreement or otherwise affect the Court’s ruling on the Motion for Approval of
               Settlement. Attorneys’ fees and costs sought by Class Counsel but not awarded
               shall return to the Net Settlement Fund.

  3.3   Service Award to Plaintiff. Class Counsel will apply to the Court for the Plaintiff to
        receive a Service Award from the Settlement Fund for services rendered to the FLSA
        Collective, not to exceed One Thousand Dollars ($1,000). Defendants will not oppose
        such application provided it is made in accordance with the terms of this Stipulation. The
        outcome of the Court’s ruling on the application for a Service Award shall not terminate
        this Agreement or otherwise affect the Court’s ruling on the Motion for Approval of
        Settlement. The amount of the Service Award sought but not awarded shall return to the
        Net Settlement Fund.

  3.4   Untimely, Deficient, or Disputed Claims. The Claims Administrator shall promptly
        advise counsel for the Parties of any FLSA Collective Members who file late or deficient
        claims, who dispute their allocation based on the settlement formula, or who have come

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        forward as individuals who were not identified as FLSA Collective Members but who
        seek to participate, and any correspondence must also be sent—via carbon copy over
        electronic mail—to Class Counsel. Silverstar’s personnel records reflecting dates the
        FLSA Collective Member worked during the Covered Period are presumed to be correct
        unless that individual submits documents proving otherwise. Defendants shall initially
        recommend to the Claims Administrator whether such individuals or any others may
        participate in the Settlement, and whether their allocation based on the settlement formula
        should be corrected (if applicable). Defendants must inform Class Counsel of their
        recommendation and reasoning. If Class Counsel does not agree with Defendants’
        recommendation, the Parties will meet and confer to attempt to resolve the disagreement.
        If they cannot, the disagreement will be submitted to David Calzone, the Mediator acting
        as arbitrator. If accepted (by the Claims Administrator or Parties, or through decision of
        the Mediator acting as arbitrator), such individuals shall be considered Claimants for all
        purposes under this Agreement. Any FLSA Collective Members whose Consent to Join
        Forms are accepted or whose allocation is permitted to be increased in accordance with
        this Section at least seven (7) or more days prior to the distribution of the Final Individual
        Settlement Amount shall be paid from the Net Settlement Fund and the calculations of
        the Final Individual Settlement Amount for all other Claimants adjusted as necessary in
        accordance with Section 3.6(C). Any FLSA Collective Members whose Consent to Join
        Forms are accepted or whose allocation is permitted to be increased in accordance with
        this Section after the date that is less than seven (7) days prior to the distribution of the
        Final Individual Settlement Amount, or after the distribution, shall be paid from the
        “Unclaimed Funds” as defined herein. Once Unclaimed Funds no longer remain to accept
        additional claims or adjust allocations, no further claims shall be accepted, or changes to
        allocations made. In no event shall the acceptance of any Consent to Join Forms or
        changes to allocations in accordance with this Section result in Defendants being required
        to pay more than the Maximum Settlement Amount of One Hundred Fifty Thousand
        Dollars ($150,000).

  3.5   Distribution to Claimants.

        (A)    The Net Settlement Fund shall be the amount of money remaining from the One
               Hundred Fifty Thousand Dollars ($150,000) Settlement Fund after deducting
               (a) attorneys’ fees and costs approved by the Court, pursuant to Section 3.2; and
               (b) Service Awards approved by the Court pursuant to Section 3.3. Subject to the
               allocations listed above, the Net Settlement Fund shall be allocated as follows:

               (1)     Each Claimant’s Individual Settlement Amount will be calculated as their
                       pro rata share of the Net Settlement Fund, based on the Claimant’s Total
                       Overtime Hours worked during the relevant time period as a percentage of
                       the total aggregate of all Overtime Hours worked by All FLSA Collective
                       Members during the relevant time period. Each Claimant’s Individual
                       Settlement Amount will be calculated per workweek based on the
                       following formulas:




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                     Claimant’s Hours = hours worked reflected in Silverstar’s data + one
                     additional hour per day actually worked.

                     Claimant’s Total Overtime Hours = Claimant’s Hours - 40

                     All FLSA Collective Members’ Hours = hours reflected in Silverstar’s
                     data for all FLSA Collective Members + one additional hour per day
                     actually worked, per FLSA Collective Member

                     All FLSA Collective Members’ Overtime Hours = All FLSA Collective
                     Members’ Hours - 40

                     Individual Settlement Amount (weekly) = (Claimant’s Total Overtime
                     Hours / All FLSA Collective Members’ Overtime Hours) * Net Settlement
                     Fund

                     Individual Settlement Amount = the aggregate of all weekly amounts.

              Each Claimant will receive a payment of their Individual Settlement Amount
              pursuant to these formulas, or $50.00, whichever is greater. To the extent $50.00
              minimum payments create a shortfall based on the above-described calculation,
              each Claimant’s Individual Settlement Payment will be reduced based on the
              Claimant’s pro rata share of the Net Settlement Fund.

              The intent of this calculation is to allocate the entire amount of the Net Settlement
              Fund to Claimants’ Individual Settlement Amounts.

        (B)   If the parties cannot agree on any aspect of the allocation formula, then their
              dispute shall be decided finally by David Calzone, the Mediator, serving as an
              arbitrator on this issue. Should it become necessary to engage the Mediator to
              arbitrate a dispute over the allocation formula, the Parties will split evenly the
              Mediator’s costs.

        (C)   Any funds in the Net Settlement Fund that are not claimed (“Unclaimed Funds”)
              shall remain the property of Defendants (except as used to pay the Final
              Individual Settlement Amount of any FLSA Collective Member whose Consent to
              Join Form is accepted or whose allocation is permitted to be increased, in
              accordance with Section 3.4 of the Agreement) and, if Defendants have paid such
              amounts to the Claims Administrator, such amounts shall be returned to
              Defendants by the Claims Administrator.

        (D)   A Claimant’s Final Individual Settlement Amount shall be their Individual
              Settlement Amount subject to any adjustments under Section 3.4.

        (E)   Names of Claimants and their allocation amounts shall be kept strictly
              confidential by the Claims Administrator, which information will not be disclosed
              except to Class Counsel and as is necessary to the administration and monitoring


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              of the settlement, including disclosure of the estimated Individual Settlement
              Amounts calculated for FLSA Collective Members before the Notice is mailed.

        (F)   Defendants and the Claims Administrator shall exchange such information as is
              necessary and reasonably available for the Claims Administrator to make proper
              tax withholdings and comply with tax reporting obligations as described in
              Section 3.7, which information shall not be withheld from Class Counsel.

        (G)   Claimants will have ninety (90) calendar days after each check date to redeem
              their settlement payments. If Claimants do not redeem their settlement payment
              checks within the ninety (90) day period, their settlement checks (the “Unclaimed
              Checks”) will be void and a stop-payment will be placed. In such event, the
              amounts associated with the Unclaimed Checks shall remain the property of
              Defendants and shall be returned to Defendants by the Claims Administrator
              (“Unclaimed Check Funds”). However, if any Claimant contacts Class Counsel
              or the Claims Administrator requesting a new check within thirty (30) days
              following when their check becomes void, they will be reissued a check out of the
              Unclaimed Check Funds. In the event the Claimant does not redeem a reissued
              settlement check within sixty (60) days of the date of reissue, the check will be
              void and a stop-payment will be placed. The reissued Unclaimed checks will
              become part of the Unclaimed Check Fund. Claimants who do not redeem their
              settlement checks shall remain bound by this Settlement and the Release in
              Section 3.8(A). This Stipulation and the associated Final Order and Judgment do
              not and will not create any unpaid residue or unpaid residual with respect to the
              Unclaimed Funds or Unclaimed Check Funds, and no distribution of such shall be
              required. The provisions of any unclaimed property statute or law do not apply to
              this action or this Stipulation. The outcome of any proceeding related to the
              distribution of amounts associated with Unclaimed Checks shall not terminate this
              Agreement or otherwise affect the Court’s ruling on the Motion for Approval of
              Settlement.

        (H)   All payments to Claimants made pursuant to this Agreement shall be deemed to
              be paid to such Claimants solely in the year in which such payments actually are
              received by the Claimants.

  3.6   Taxability of Settlement Payments.

        (A)   For tax purposes, the payments to Claimants pursuant to Section 3.3 shall be
              treated as non-wages.

        (B)   Within twenty (20) calendar days following the Claims Form Deadline, Plaintiff
              shall provide the Claims Administrator with a duly completed IRS Form W-9 or
              applicable IRS Form W-8 together with any other documentation and information
              requested by the Claims Administrator in connection with the Claims
              Administrator’s tax reporting obligations under the Code. Plaintiff understands
              that in the event valid U.S. tax forms or other required supporting documentation
              are not provided to the Claims Administrator, the Claims Administrator may be

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              required to withhold tax from payments made pursuant to this Agreement. The
              Claims Administrator shall report payments to Plaintiff and Claimants on the
              applicable IRS Form 1099 as required by the Code.

        (C)   For tax purposes, the payments to Plaintiff and Claimants pursuant to Section 3.6
              shall be allocated as follows: unpaid wages (50% of each settlement payment),
              and liquidated damages and interest (50% of each settlement payment).
              Defendants shall cooperate with the Claims Administrator to timely arrive at an
              amount equal to the employer’s share of the FICA tax and any federal and state
              unemployment tax due that are traditionally borne by employers, with respect to
              the amounts treated as wages and shall promptly pay such amounts to the QSF.
              Defendants will be solely responsible for paying the employer’s share of payroll
              taxes. The Claims Administrator shall be responsible for making all reporting,
              deposits, and withholdings with respect to all amounts payable to Claimants
              required pursuant to any federal, state, or local tax law or regulation hereunder
              under the EIN of the Escrow Account or the Defendants as required by applicable
              law.

        (D)   Payments treated as wages pursuant to Sections 3.7(C) shall be made subject to
              applicable withholding of the employees’ share of all applicable employment
              taxes, including, without limitation, federal, state and local income tax
              withholding and the FICA tax, and shall be reported by the QSF to the IRS and
              the payee under the payee’s name and social security number on an IRS Form W-
              2.

        (E)   Within twenty (20) calendar days following the Order Granting Approval, Class
              Counsel shall provide the Claims Administrator with a duly completed IRS Form
              W-9. Payments of attorneys’ fees and costs pursuant to Section 3.2 shall be
              reported by the Claims Administrator on the applicable IRS Form 1099 as
              required by the Code and shall be made without withholding, provided the Claims
              Administrator has timely received a duly completed Form W-9 from Class
              Counsel.

        (F)   As to the payments reported as non-wage income, Plaintiff and Claimants agree to
              indemnify and hold harmless Defendants and Releasees for any taxes, penalties,
              interest or other amounts due or owing by the Plaintiff and Claimants on such
              1099 payments. Other than the standard withholdings from the wage portion of
              the Individual Settlement Payments, as set forth above, and as required by law,
              Defendants and the Claims Administrator will not make from the payment to each
              Plaintiff or Claimant any deductions, withholdings, or additional payments,
              including without limitation, medical or other insurance payments or premiums,
              employee 401(k) contributions or matching employer contributions, wage
              garnishments, or charity withholdings, and entry of the Final Order and Judgment
              by the Court shall be deemed authority not to make such deductions,
              withholdings, or additional payments. Any amount paid to Plaintiff or Claimants
              shall not create any credit or otherwise affect the calculation of any deferred


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              compensation, benefit, pension, or other compensation or benefit plan provided
              by Defendants.

        (G)   Each individual Plaintiff and Claimant will be solely responsible for all taxes,
              interest, penalties, or other amounts due with respect to any payment received
              pursuant to this Agreement (other than FICA and any federal and state
              unemployment taxes specified in Section 3.6, and the employer and employee’s
              share of payroll taxes withhold pursuant to Section 3.6). Plaintiff acknowledges
              and agrees that he has not relied upon any advice from Defendants as to the
              taxability of the payments received pursuant to this Agreement.

        (H)   The Claims Administrator shall handle all tax reporting with respect to the
              payments made pursuant to this Agreement, and shall report the payments in
              accordance with applicable law.

  3.7   Release.

        (A)   Release of Claims by Plaintiff. To the maximum extent permitted by law, the
              Plaintiff generally release the Releasees from any and all claims, actions, causes
              of action, lawsuits, debts, dues, sums of money, accounts, reckonings, bonds,
              bills, specialties, covenants, contracts, bonuses, controversies, agreements,
              promises, claims, charges, complaints and demands whatsoever, whether in law or
              equity, known or unknown, which against the Releasees Plaintiff and his heirs,
              executors, administrators, successors, and assigns, ever had, may now have, or
              hereafter later determine that he or she has or had upon, or by reason of, any cause
              or thing whatsoever, including, but not limited to relating to his or her
              employment (or alleged employment or joint employment) or termination of
              employment with any of the Defendants or Releasees, including, but not limited
              to, claims arising under the Americans With Disabilities Act, the Age
              Discrimination in Employment Act, the National Labor Relations Act, the Fair
              Labor Standards Act, the Equal Pay Act, the Employee Retirement Income
              Security Act of 1974, 29 U.S.C. § 1001 et seq., including but not limited to,
              breach of fiduciary duty and equitable claims to be brought under §1132(a)(3) of
              the Employee Retirement Income Security Act (“ERISA”), the Worker
              Adjustment and Retraining Notification Act, Title VII of the Civil Rights Act of
              1964, the Vocational Rehabilitation Act of 1973, the Civil Rights Acts of 1866,
              1871 and 1991, including Section 1981 of the Civil Rights Act, the Family and
              Medical Leave Act, the Elliott-Larsen Civil Rights Act, Michigan Persons With
              Disabilities Civil Rights Act, Michigan Equal Pay Law, Michigan
              Whistleblower's Protection Act, Michigan Minimum Wage Law of 1964,
              Michigan Payment of Wages and Fringe Benefits Law, Sales Representatives
              Commission Act, if applicable, Michigan WARN Laws, Bullard-Plawecki
              Employee Right to Know Act, Social Security Number Privacy Act, ; Internet
              Privacy Protection Act, Michigan Occupational Safety and Health Act, and/or any
              other federal, state or local human rights, civil rights, wage-hour, pension or labor
              law, rule, statute, regulation, constitution or ordinance and/or public policy,
              contract or tort law, or any claim of retaliation under such laws, or any claim of

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              breach of any contract (whether express, oral, written or implied from any
              source), or any claim of unjust enrichment, intentional or negligent infliction of
              emotional distress, tortious interference with contractual relations, wrongful or
              abusive or constructive discharge, defamation, prima facie tort, fraud, negligence,
              loss of consortium, malpractice, breach of duty of care, breach of fiduciary duty
              or any action similar thereto against Releasees, including any claim for attorneys’
              fees, expenses or costs based upon any conduct from the beginning of the world
              up to and including the Effective Date; provided, however, that Plaintiff does not
              waive any right to file an administrative charge with the Equal Employment
              Opportunity Commission (“EEOC”), subject to the condition that they agree not
              to seek, or in any way obtain or accept, any monetary award, recovery or
              settlement therefrom; and further provided, however, that Plaintiff does not
              release any claim for breach of the terms of the Agreement.

              This Settlement is intended to include in its effect all claims identified in this
              Section 3.8(A), including claims that Plaintiff does not know or suspect to exist in
              his favor against Releasees as of the Effective Date. Plaintiff agrees and
              acknowledges that he has had the opportunity to seek the advice of counsel, and
              that this is a knowing and voluntary waiver. Plaintiff shall be deemed to have
              expressly waived and relinquished, to the fullest extent permitted by law, the
              provisions, rights, and benefits he may otherwise have had relating to the claims
              identified in this Section 3.8(A).

              Plaintiff further agrees and acknowledges that he has not made any claims or
              allegations related to sexual harassment or sexual abuse, and none of the
              payments to him as set forth in this Agreement are related to sexual harassment or
              sexual abuse.

        (B)   Release of Claims by Claimants. Upon the entry of the Order Granting
              Approval, each Claimant, on his or her behalf, and on behalf of his or her
              respective current, former and future heirs, assigns, spouses, executors,
              administrators, agents, and attorneys, further shall fully release and discharge
              Releasees of and from any and all federal, state, local, and common law wage and
              hour claims (including, but not limited to, all claims that were asserted in the
              Complaint in the Litigation, docket entry 10) arising from his or her employment
              (or alleged employment or joint employment) with any of the Releasees,
              including statutory claims, whether known or unknown, in law or in equity,
              including, but not limited to, any and all federal, state, local, and common law
              wage and hour claims, including FLSA claims (including but not limited to claims
              under 29 U.S.C. § 206, 207, 211(c) and 215(a)) and unjust enrichment claims, and
              those arising under Michigan Law, as well as liquidated damages, that accrued or
              accrue prior to the Effective Date, including claims under any legal theory for
              failure to pay minimum wage, failure to pay overtime, failure to pay for all hours
              worked, failure to provide meal and rest periods, failure to timely pay final wages,
              failure to reimburse for business expenses, and/or failure to furnish accurate wage
              statements or other notices, failure to keep accurate records, and any and all
              claims for recovery of compensation, overtime pay, minimum wage, premium

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              pay, interest, and/or penalties, claims under the ERISA that are related to or
              derivative of the claims released in this Section 3.8(B), other penalties, related tort
              and punitive and liquidated damages claims, and/or violations of any other state
              or local statutory and common law wage and hour claims.

              This Settlement is intended to include in its effect all claims identified in this
              Section 3.8(B), including wage and hour claims that each Claimant does not know
              or suspect to exist in his or her favor against Releasees as of the Effective Date.
              Claimants agree and acknowledge that they have had the opportunity to seek the
              advice of counsel, and this shall be deemed a knowing and voluntary waiver.
              Claimants shall be deemed to have expressly waived and relinquished, to the
              fullest extent permitted by law, the provisions, rights, and benefits they may
              otherwise have had relating to the claims identified in this Section 3.8(B).

        (C)   Plaintiff hereby agrees that he will shall not seek and hereby waives any claim for
              employment or re-employment (as a full-time or part-time employee) or
              assignment or work (as a temporary worker, independent contractor or consultant)
              or, in the event of a merger or acquisition, continued employment or assignment
              or work or any other position in which he receives payment either directly or
              indirectly from any of the Releasees, including any Amazon or Amazon-affiliated
              entity, and that his General Release shall be a complete bar to any such
              application, employment, continued employment, re-employment, or work.

        (D)   Nothing in this Release shall prohibit or restrict Plaintiff, Claimants, or Releasees,
              from: (i) providing information to or cooperating with Congress, the Securities
              and Exchange Commission (“SEC”), the Commodity Futures Trading
              Commission (“CFTC”), the Consumer Financial Protection Bureau (“CFPB”), the
              EEOC, the Occupational Safety and Health Administration (“OSHA”), the
              National Labor Relations Board (“NLRB”), Department of Justice (“DOJ”) or
              any other federal, state, or local government, regulatory, or law enforcement
              agency (“Government Agencies”), the Financial Industry Regulatory Authority
              (“FINRA”) or the “New York Stock Exchange, Inc. (“NYSE”), or any other self-
              regulatory organization (“SRO”); (ii) reporting to any of the Releasees’
              management or directors regarding conduct the employee believes to be in
              violation of the law or prohibits or restricts the employee from providing
              information to or cooperating with any Government Agencies or any SROs;
              (iii) communicating with any Government Agencies or SRO or otherwise
              participating in any investigation or proceeding that may be conducted by any
              Government Agency or SRO, including providing documents or other
              information; or (iv) receiving an award for information provided to any
              Government Agencies other than for charges filed with the EEOC or
              corresponding state or local agency as set forth above. Plaintiff and Claimants
              may also disclose confidential information, including trade secrets, to (a) any
              government, regulatory or self-regulatory agency, including under Section 21F of
              the Securities and Exchange Act of 1934, Section 23 of the Commodity Exchange
              Act of 1936, or Section 7 of the Defend Trade Secrets Act of 2016 (“Defend
              Trade Secrets Act”) and the rules thereunder, or (b) an attorney in connection with

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               the reporting or investigation of a suspected violation of law or to an attorney or
               in a court filing under seal in connection with a retaliation or other lawsuit or
               proceeding, as permitted under the Defend Trade Secrets Act. Plaintiff and
               Claimants do not need the prior authorization of Defendants to make these
               disclosures or provide evidence or other information to any government,
               regulatory, or self-regulatory agency, and Plaintiff and Claimants are not required
               to notify Defendants that they have done so.

        (E)    Plaintiff and Claimants further covenant that they will not participate in any other
               legal actions against Defendants for claims released by this Settlement, and will
               not opt-in, will withdraw any opt-in, will dismiss the action or themselves from
               the action in actions where they are a claimant, plaintiff or appellant, and will opt-
               out of those actions if they become aware of such actions.

        (F)    Plaintiff certifies that he has returned all property of the Defendants or any
               Releasees in her possession or control, including without limitation, equipment,
               telephones, credit cards, keys, pagers, tangible proprietary information,
               documents, computers and computer discs, personal data assistants, files and data,
               which she prepared or obtained during the course of his employment, or alleged
               employment or joint employment, with any of the Defendants with the exception
               of any personnel, human resources, or pay records provided to him by any of the
               Defendants.

        (G)    Release of Fees and Costs for Settled Matters. Class Counsel and Plaintiff, on
               behalf of the FLSA Collective and each Claimant, hereby irrevocably and
               unconditionally release, acquit, and forever discharge any claim that they may
               have against Defendants or Releasees for attorneys’ fees or costs associated with
               Class Counsel’s representation of Plaintiff, the FLSA Collective, and the
               Claimants in the Litigation, the Settlement, or any claims being Released by this
               Stipulation and related papers specific to this Settlement and Litigation, only.
               Class Counsel further understand and agree that any fee payments approved by
               the Court will be the full, final, and complete payment of all attorneys’ fees and
               costs associated with Class Counsel’s representation of these individuals and/or
               their representation in the Litigation.

  3.8   Future Inquiries. It is the Parties’ desire that this Agreement be the final resolution of
        any disputes that were or could have been included in this Litigation. Notwithstanding
        Section 3.4, and to the extent consistent with Class Counsel’s legal and ethical
        obligations, anyone employed by any of the Releasees as a Non-Exempt Employee who
        does not participate in the settlement and later contacts Class Counsel expressing interest
        in pursuing claims, will be presented by Class Counsel to Releasees for settlement
        consistent with the terms of this Agreement before filing any individual, class, or
        collective claims, though doing so will not entitle Class Counsel to any additional
        attorneys’ fees or costs. Class Counsel represents that other than Plaintiff and those who
        have opted into the Litigation, Class Counsel does not have any other current clients who
        would form part of this purported collective who have wage and hour claims against any
        of the Releasees. Additionally, Class Counsel is not aware of any individuals who would

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         be part of this collective contemplating wage and hour claims against any of the
         Releasees.

  3.9    No Assignment. Class Counsel and Plaintiff represent and warrant that they have not
         assigned or transferred, or purported to assign or transfer, to any person or entity, any
         claim or any portion thereof or interest therein, including, but not limited to, any interest
         in the Litigation, or any related action.

  3.10   Non-Admission. Nothing relating to this Agreement, or any communications, papers, or
         orders related to the Settlement, shall be cited to as, construed to be, admissible as, or
         deemed an admission by Defendants or Releasees of any liability, culpability, negligence,
         or wrongdoing toward the Plaintiff, the FLSA Collective Members, or any other person,
         and Defendants and Releasees specifically disclaim (i) any liability, culpability,
         negligence, or wrongdoing toward the Plaintiff, the FLSA Collective Members, or any
         other person; (ii) that class or collective action certification is appropriate in this or any
         other matter; or (iii) that Amazon is an employer or joint employer of Plaintiff, FLSA
         Collective Members, Claimants, or anyone they seek to represent in the Litigation. Each
         of the Parties has entered into this Stipulation with the intention to avoid further disputes
         and litigation with the attendant inconvenience, expenses, and contingencies. This
         Agreement, and any communications, papers, or orders related to the Settlement, may not
         be cited to, used, or admitted as evidence (i) of liability; (ii) that class or collective action
         certification is appropriate; or (iii) that Amazon is an employer or joint employer of
         anyone. There has been no determination by any court as to (i) the merits of the claims
         asserted by Plaintiff against Defendants; (ii) whether a class or collective should be
         certified, other than for settlement purposes only; or (ii) whether Amazon is an employer
         or joint employer of anyone, including Plaintiff, FLSA Collective Members, or
         Claimants.

  3.11   Non-Disparagement. Plaintiff agrees not to make disparaging comments relating to
         Defendants’ compensation of him.

  3.12   Liquidated Damages for Breach. In the event of a breach by Plaintiff of the terms of
         Section 3.11, Plaintiff agrees that Defendants shall be entitled to liquidated damages in an
         amount equal to all payments made to that individual under this Agreement. Plaintiff
         agrees that a breach of Section 3.11 constitutes a breach of this Agreement and that it
         would be impossible or impracticable to compute the actual damages resulting from such
         breach, and the liquidated damages amount set forth in this Agreement is reasonable in
         light of the anticipated damage Defendants would suffer from a breach of Section 3.11.
         Plaintiff agrees that the liquidated damages provision is in addition to, and not in lieu of,
         any rights, damages, or remedies that Defendants may have available pursuant to federal,
         state, or local law.

  3.13   Non-Interference With Settlement. Pending the Court’s decision on final approval of
         the Settlement and entry of the Court’s Final Order and Judgment, Plaintiff, Claimants,
         and anyone acting on behalf of them shall be barred and enjoined from: (a) further
         prosecution of the Litigation; (b) filing, or taking any action directly or indirectly, to
         commence, prosecute, pursue or participate in a class or collective action basis any

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         action, claim or proceeding against Defendants in any forum in which any of the claims
         subject to the Settlement (and specific to the FLSA Collective) are asserted, or which in
         any way would prevent any such claims from being extinguished; or (c) seeking, whether
         on a conditional basis or not, certification of a class or collective action that involves any
         such claims.

  3.14   Returns and/or Destruction of Confidential Settlement Materials. Plaintiff and Class
         Counsel agree to return and/or destroy all documents and materials designated as
         “Confidential” pursuant to the Federal Rule of Evidence 408 or produced to them in
         connection with settlement negotiations in the Litigation.

  3.15   Miscellaneous.

         (A)    Cooperation Between the Parties; Further Acts. The Parties shall cooperate
                fully with each other and shall use their reasonable best efforts to obtain the
                Court’s approval of this Agreement and all of its terms. Each of the Parties, upon
                the request of any other party, agrees to perform such further acts and to execute
                and deliver such other documents as are reasonably necessary to carry out the
                provisions of this Agreement.

         (B)    Entire Agreement. This Agreement constitutes the entire agreement between the
                Parties with regard to the subject matter contained herein, and all prior and
                contemporaneous negotiations and understandings between the Parties shall be
                deemed merged into this Agreement.

         (C)    Binding Effect. This Agreement shall be binding upon the Parties and Class
                Counsel, with respect to Plaintiff and the Claimants, their spouses, children,
                representatives, heirs, administrators, executors, beneficiaries, conservators,
                attorneys, and assigns.

         (D)    Severability. Should any clause, sentence, provision, paragraph, or part of this
                Agreement be adjudged by any court of competent jurisdiction, or be held by any
                other competent governmental authority having jurisdiction, to be illegal, invalid,
                or unenforceable, such judgment or holding shall not affect, impair, or invalidate
                the remainder of this Agreement, but shall be confined in its operation to the
                clause, sentence, provision, paragraph, or part of the Agreement directly involved,
                and the remainder of the Agreement shall remain in full force and effect.

         (E)    Arm’s Length Transaction; Materiality of Terms. The Parties have negotiated
                all the terms and conditions of this Agreement at arm’s length. All terms and
                conditions of this Agreement in the exact form set forth in this Agreement are
                material to this Agreement and have been relied upon by the Parties in entering
                into this Agreement.

         (F)    Captions. The captions or headings of the sections and paragraphs of this
                Agreement have been inserted for convenience of reference only and shall have
                no effect upon the construction or interpretation of any part of this Agreement.


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        (G)   Construction. The determination of the terms and conditions of this Agreement
              has been by mutual agreement of the Parties. Each party participated jointly in the
              drafting of this Agreement, and therefore the terms and conditions of this
              Agreement are not intended to be, and shall not be, construed against any party by
              virtue of draftsmanship.

        (H)   Governing Law. This Agreement shall in all respects be interpreted, enforced
              and governed by and under the laws of the State of Michigan, without regard to
              choice of law principles, except to the extent that the law of the United States
              governs any matter set forth herein, in which case such federal law shall govern.

        (I)   Waivers, etc. to Be in Writing. No waiver, modification or amendment of the
              terms of this Agreement, whether purportedly made before or after the Court’s
              approval of this Agreement, shall be valid or binding unless in writing, signed by
              or on behalf of all Parties and then only to the extent set forth in such written
              waiver, modification or amendment, subject to any required Court approval. Any
              failure by any party to insist upon the strict performance by the other party of any
              of the provisions of this Agreement shall not be deemed a waiver of future
              performance of the same provisions or of any of the other provisions of this
              Agreement, and such party, notwithstanding such failure, shall have the right
              thereafter to insist upon the specific performance of any and all of the provisions
              of this Agreement.

        (J)   When Agreement Becomes Effective. Except for provisions of this Agreement
              requiring any party to act or seek Court action prior to Court approval, which
              provisions are intended to be binding on the Parties upon mutual execution
              hereof, this Agreement shall become fully effective upon the Effective Date.

        (K)   Facsimile/Electronic Signatures. Any signature made and transmitted by
              facsimile or email for the purpose of executing this Agreement shall be deemed
              an original signature for purposes of this Agreement and shall be binding upon the
              party whose counsel transmits the signature page by facsimile or email.

        (L)   Extensions of Time. If any deadlines related to this Settlement cannot be met,
              Class Counsel and counsel for Defendants shall meet and confer to reach
              agreement on any necessary revisions of the deadlines and timetables set forth in
              this Agreement. In the event that the Parties fail to reach such agreement, any of
              the Parties may apply to the Court via a noticed motion for modification of the
              dates and deadlines in this Stipulation.

        (M)   Counterparts. The Agreement may be executed in one or more counterparts. All
              executed counterparts and each of them shall be deemed to be one and the same
              instrument. A complete set of original executed counterparts shall be filed with
              the Court.

        (N)   Third Party Beneficiaries. The Agreement shall be binding upon, and inure to
              the benefit of, the successors and assigns of the Parties hereto; but this Agreement

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              is not designed to and does not create any third party beneficiaries other than third
              parties that are identified as Releasees as defined in Section 1.27.




   NAMED PLAINTIFF:



   DATED: _______________, 2018               By: ______________________________________
                                                  Aaron Smith

   DEFENDANTS:
                                              HOWARD & HOWARD ATTORNEYS


   DATED: November 15, 2018                   By: /s/ Daniel L. Villaire (w/ Permission)
                                                  On Behalf of Silverstar, LTD
                                              Attorneys for Silverstar, LTD

                                              MORGAN, LEWIS & BOCKIUS LLP

   DATED: November 15, 2018                   By: /s/ Meredith E. Riccio (w/ Permission)
                                                  On Behalf of Amazon.com LLC and
                                                  Amazon.com Services, Inc.
                                              Attorneys for Amazon.com LLC, and Amazon.com
                                              Services, Inc.
   CLASS COUNSEL AS TO FORM
   AND CONTENT:
                                              DICELLO LEVITT & CASEY LLC

   DATED: November 15, 2018                   By: /s/ Laura E. Reasons


                                              Attorneys for Plaintiff and the Settlement Class




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DocuSign Envelope ID: 0B47A5A8-A585-4477-B088-3D7ECFC505E2
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                             is not designed to and does not create any third party beneficiaries other than third
                             parties that are identified as Releasees as defined in Section 1.27.




              NAMED PLAINTIFF:


                          11/15/2018
              DATED: _______________, 2018                   By: _ ___________________________________
                                                                 Aaron Smith

              DEFENDANTS:
                                                             HOWARD & HOWARD ATTORNEYS


              DATED: _______________, 2018                   By: ______________________________________
                                                                 On Behalf of Silverstar, LTD
                                                             Attorneys for Silverstar, LTD

                                                             MORGAN, LEWIS & BOCKIUS LLP

              DATED: _______________, 2018                   By: ______________________________________
                                                                 On Behalf of Amazon.com LLC and
                                                                 Amazon.com Services, Inc.
                                                             Attorneys for Amazon.com LLC, and Amazon.com
                                                             Services, Inc.
              CLASS COUNSEL AS TO FORM
              AND CONTENT:
                                                             DICELLO LEVITT & CASEY LLC

              DATED: _______________, 2018                   By: ______________________________________


                                                             Attorneys for Plaintiff and the Settlement Class




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                     EXHIBIT A
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                 IN  THE   UNITED   STATES    DISTRICT                      COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

  AARON SMITH, individually and on
  behalf of all similarly situated individuals,

                     Plaintiff,
          v.                                           Case No. 2:18-cv-10501-DML-RSW

  SILVERSTAR DELIVERY, LTD.,                           Hon. David M. Lawson
  AMAZON.COM, LLC, and AMAZON.COM
  SERVICES, INC.,                                      Magistrate Judge R. Steven Whalen

                     Defendants.


                                        [PROPOSED] ORDER

          Aaron Smith (“Plaintiff”), on behalf of himself and all others similarly situated (“FLSA

  Collective Members”) has filed an Unopposed Motion for Approval of Collective Action

  Settlement and Plaintiff’s Attorneys’ Fees and Costs (“Motion”). After reviewing the Motion,

  together with the Joint Stipulation of Settlement and Release (the “Agreement”), the proposed

  Notice to FLSA Collective Members, and the proposed Consent to Join Form, the Court finds

  and orders as follows:

          1.     The settlement memorialized in the Agreement is fair, reasonable, and adequate.

  It is the result of arms’-length negotiations between experienced attorneys who are familiar with

  FLSA collective litigation in general, and with the legal and factual issues of this case in

  particular.

          2.     The Court has considered the pleadings, papers, and arguments made by the

  Parties in support of the Motion and finds that the following FLSA Collective should be

  conditionally certified for purposes of settlement only:

          All individuals, including Plaintiff, employed by Silverstar as delivery drivers who
          delivered packages to Amazon’s customers in Michigan and who worked during the time




                                                   1
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         period between three years from the date of when the individual opted into the lawsuit or
         October 6, 2016, whichever date is earlier, through January 24, 2018.

         3.      The Court approves, as to form and content, the proposed Notice to FLSA

  Collective Members.      The Court finds that the procedures for notifying FLSA Collective

  Members about the settlement as described in the Agreement provide the best notice practicable

  under the circumstances. The court approves the notice program as set forth in the Agreement,

  including the timing and method of providing notice.

         4.      The Parties are ordered to carry out the settlement according to the terms of the

  Agreement.

         5.      The Court approves Plaintiff’s counsels’ fees and costs in the amount of $50,000

  as set forth in the Agreement, finding that such fees and costs are fair and reasonable; and

         6.      The case is dismissed without prejudice, to convert to dismissal with prejudice in

  six months, each party to bear its own fees and costs except as otherwise provided in the

  Agreement and by this Order.

                 SO ORDERED

  Dated: __________________

                                                       Honorable David M. Lawson
                                                       United States District Court Judge




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                     EXHIBIT B
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN


 AARON SMITH, on behalf of himself and all Case No. 2:18-cv-10501-DML-RSW
 similarly situated individuals,
                                           Judge David M. Lawson
         Plaintiff,
                                           Magistrate Judge R. Steven Whalen
                 v.

 SILVERSTAR DELIVERY, LTD.,
 AMAZON.COM, LLC, and                               JURY DEMAND
 AMAZON.COM SERVICES, INC.,

        Defendants.


      NOTICE TO POTENTIAL PLAINTIFFS OF COLLECTIVE ACTION SETTLEMENT

The Honorable M. Lawson, United State District Court Judge, has authorized this Notice and its
contents.

TO:            All individuals employed by Silverstar as delivery drivers who delivered packages to
               Amazon’s customers in Michigan and who worked during the time period between
               October 6, 2016 and January 24, 2018.

Please read this Notice carefully. It relates to a Collective Action Settlement of litigation. If you
              are an FLSA Collective Member, it contains important information as to your
              rights.

    1. WHAT IS THIS NOTICE ABOUT?
This Notice is to tell you about the Settlement of a collective action lawsuit that was filed against
Silverstar Delivery, Ltd., Amazon.com, LLC, and Amazon.com Services, Inc. (“Defendants”). This is
not a notice of a lawsuit against you. A Federal Court has authorized this Notice.

     2. WHAT IS THE LITIGATION ABOUT?
On February 12, 2018, a collective action lawsuit was filed in the U.S. District Court for the Eastern
District of Michigan. The case is titled Smith, et al. v. Silverstar, et al., Case No. 2:18-cv-10501-DML-
RSW. Plaintiff alleged that he and similarly situated employees were not paid for hours worked in
excess of forty hours per week at time and a half their regular rate of pay in violation of the Fair Labor
Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”). Defendants denied Plaintiff’s claims throughout the
litigation.
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    3. WHY DID I GET THIS NOTICE?
You received this Notice because you have been identified as a person in the Collective (the class of
individuals entitled to recover under the Settlement), defined as:
       All individuals employed by Silverstar as delivery drivers who delivered packages to Amazon’s
       customers in Michigan and who worked during the time period between October 6, 2016 and
       January 24, 2018.

If you received this Notice, you are eligible to participate in the Settlement and may be eligible for
compensation as described herein.

     4. WHAT IS THE “SETTLEMENT” AND HOW WAS IT AGREED UPON?
The Settlement is a compromise of Plaintiff’s claims in this litigation and is not to be construed as an
admission of liability on the part of Defendants. The Court has granted approval of the Settlement. The
Settlement includes a procedure for eligible persons to receive their share of the Settlement Fund.
Plaintiff believes that the claims asserted in the Litigation have merit. Defendants do not believe that the
claims asserted in the Litigation have merit. There has been no determination by any court,
administrative agency, or other tribunal as to the truth or validity of the factual allegations made in this
Litigation. Substantial amounts of time, energy, and other resources have been devoted by the Parties in
prosecuting and in defending the Litigation. Unless there is a settlement, that Litigation will continue. In
settlement negotiations, the Parties have taken into account the uncertainty of the outcome and the risk
of litigation. In light of these factors, the Parties believe that the Settlement is the best way to resolve the
Litigation while minimizing further expenditures. The Parties and their attorneys believe that the
Settlement is fair, reasonable, and adequate, and in the best interests of all Parties, including the FLSA
Collective.

    5. WHAT ARE THE TERMS OF THE SETTLEMENT
Defendant Silverstar will pay a Settlement Amount of $150,000.00 to resolve Plaintiff’s unpaid
overtime pay claims in this Lawsuit as described in the Agreement. Each FLSA Collective Member shall
be allocated a proportionate share of the Settlement Fund after the Settlement Fund has been reduced by:
(1) $1,000.00 for a service award to the Plaintiff for helping to litigate and settle this lawsuit; and (2)
$50,000.00, as approved and ordered by the Court, as payment for court approved attorneys’ fees and
reasonable costs. Defendant Silverstar will separately pay the administration costs of this settlement
outside of the Settlement Fund. The Settlement Fund as reduced by the foregoing amounts is referred to
in this Notice as the “Net Settlement Fund.”

    6. WHAT AM I ENTITLED TO RECOVER UNDER THE SETTLEMENT?
Each FLSA Collective Member who returns a valid and timely consent to join form to become a
Claimant (“Claimant”) will receive an Individual Settlement Payment from the Net Settlement Fund
consisting of allegedly owed unpaid overtimes wages, plus liquidated damages. Individual Settlement
Payments will be calculated for each Claimant based on their actual hours worked during the relevant
time period. Each Claimant will receive the greater of: (a) their proportionate amount of the Net
Settlement Fund based on their hours worked; or (b) a minimum settlement payment of $50.00. Your
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anticipated Individual Settlement Payment is shown on your Notice. This is an estimate and is subject to
change.

One-half of each Individual Settlement Payment will be considered wages and will be reported as such
on an IRS Form W-2. Appropriate withholdings will be deducted. The other half of each Individual
Settlement Payment will be considered non-wages, including liquidated damages and interest and will
be reported as such on an IRS Form 1099.

Individual Settlement Payment checks will become void after 90 calendar days. However, Claimants
whose checks become void may request one new check within 30 days, which will become void 60
calendar days after reissue.

    7. HOW DO I RECEIVE MY INDIVIDUAL SETTLEMENT PAYMENT?
You must complete, sign, and return the enclosed Consent to Join form (“Consent”) to partake in the
settlement. The Court has set _____________________ as the deadline by which all Consents must
be postmarked or transmitted electronically. However, if your notice packet was returned as
undeliverable, you have until the later of _________ or 35 days after your Notice packet is re-mailed to
return your Consent.

    8. AM I REQUIRED TO PARTICIPATE IN THE SETTLEMENT?
No. You are not required to join the settlement or to take any action unless you want to. If you do not
join, you will not be entitled to an Individual Settlement Payment. You will also not be bound by the
judgment in the case.

    9. WHAT RIGHTS AM I GIVING UP IF I PARTICIPATE IN THE SETTLEMENT?
If you join the Settlement by returning a timely and valid Consent, a check for your Individual
Settlement Amount will be mailed to you and you will release claims you may have against the
Defendants as follows: You will release on your own behalf, and on behalf of your respective current,
former and future heirs, assigns, spouses, executors, administrators, agents, and attorneys, and further
shall fully release and discharge Releasees of and from any and all federal, state, local, and common law
wage and hour claims (including, but not limited to, all claims that were asserted in the Complaint in the
Litigation, docket entry 10) arising from your employment (or alleged employment or joint
employment) with any of the Releasees, including statutory claims, whether known or unknown, in law
or in equity, including, but not limited to, any and all federal, state, local, and common law wage and
hour claims, including FLSA claims (including but not limited to claims under 29 U.S.C. § 206, 207,
211(c) and 215(a)) and unjust enrichment claims, and those arising under Michigan Law, as well as
liquidated damages, that accrued or accrue prior to the Effective Date, including claims under any legal
theory for failure to pay minimum wage, failure to pay overtime, failure to pay for all hours worked,
failure to provide meal and rest periods, failure to timely pay final wages, failure to reimburse for
business expenses, and/or failure to furnish accurate wage statements or other notices, failure to keep
accurate records, and any and all claims for recovery of compensation, overtime pay, minimum wage,
premium pay, interest, and/or penalties, claims under the ERISA that are related to or derivative of the
claims released in this Section 3.8(B), other penalties, related tort and punitive and liquidated damages
claims, and/or violations of any other state or local statutory and common law wage and hour claims.
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This Settlement is intended to include in its effect all claims identified in Section 3.8(B) of the
Agreement, including wage and hour claims that you do not know or suspect to exist in your favor
against Releasees as of the Effective Date. By participating in the Settlement, you agree and
acknowledge that they have had the opportunity to seek the advice of counsel, and you shall be deemed
to provide a knowing and voluntary waiver. You shall be deemed to have expressly waived and
relinquished, to the fullest extent permitted by law, the provisions, rights, and benefits you may
otherwise have had relating to the claims identified in this Section 3.8(B) of the Agreement.

    10. HOW WILL THE LAWYERS FOR PLAINTIFF AND CLAIMANTS PAID?
Subject to Court approval, Plaintiff’s Counsel will receive $50,000.00 of the Settlement Fund, as
approved by the Court, for all past and future attorneys’ fees and reasonable costs incurred or that will
be incurred in this Litigation through final approval of the Settlement as set for in the Agreement.

   11. CAN I REVIEW A COPY OF AGREEMENT OR OTHER PAPERS THAT WERE
       FILED WITH THE COURT?
Yes. You may contact the Settlement Administrator to review a copy of the Agreement. You may also
contact Plaintiff’s Counsel to review copies of the settlement papers filed with the Court.

Claims Administrator:                 Plaintiff’s Counsel:
RG/2 Claims                           Amy E. Keller                  Kenneth P. Abbarno
P.O. Box 59479                        Laura E. Reasons               Mark M. Abramowitz
Philadelphia, PA 19102-9479           DiCello Levitt & Casey         DiCello Levitt & Casey
info@rg2claims.com                    Ten North Dearborn St.         7556 Mentor Ave.
1-866-742-4955                        Eleventh Floor                 Mentor, Ohio 44060
                                      Chicago, Illinois 60602        Tel: (440) 953-8888
                                      Tel: (312) 214-7900            kabbarno@dlcfirm.com
                                      akeller@dlcfirm.com            mabramowitz@dlcfirm.com
                                      lreasons@dlcfirm.com

If you join the settlement by returning a valid and timely Consent, you will be represented by
Plaintiff’s Counsel.

All inquiries regarding the Settlement should be directed to Plaintiff’s Counsel or the Settlement
Administrator. Please do not contact the Clerk of the Court or the Judge with Inquiries about this
Settlement.
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                     EXHIBIT C
    Case 2:18-cv-10501-DML-RSW ECF No. 32-1 filed 11/15/18                         PageID.189       Page 36 of 37
                                             CONFIDENTIAL
                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF MICHIGAN


AARON SMITH, individually and on behalf
of all similarly situated individuals,

        Plaintiff,                                  Case No. 2:18-cv-10501-DML-RSW

                v.                                  Hon. David M. Lawson
                                                    Magistrate Judge R. Steven Whalen
SILVERSTAR DELIVERY, LTD.,
AMAZON.COM, LLC, and
AMAZON.COM SERVICES, INC.,

        Defendants.

                                             CONSENT TO JOIN FORM
          [BARCODE]                     [Collective Member Name]
                                        [Mailing Address 1]
          Claim ID: XYZ0123456          [Mailing Address 2]
                                        [City, State ZIP]
         I, the undersigned, hereby acknowledge that I have received and read the Notice to Potential Plaintiffs of
Collective Action Settlement (the “Notice”) in the above-referenced action (the “Litigation”). I hereby consent to join or
opt in to this Litigation and agree to be bound by the terms of the Court-approved settlement of this Litigation, as
described in the Notice. I understand that the Joint Stipulation of Settlement and Release (“Agreement”) sets out further
terms of the settlement and that I may request a copy of the Agreement from the Claims Administrator, which is explained
to me in the Notice. In exchange for a payment which I understand will be made to me pursuant to the Court-approved
settlement in this Litigation (as described in the Notice and Agreement), I hereby agree not to sue the Releasees (as
described in the Notice and Agreement) for any claims that are released (as described in the Notice and Agreement) as
covered by the Court-approved settlement of this Litigation. I hereby acknowledge and agree that I am releasing and
waiving all such released claims against the named Defendants in the above-referenced action, and all such Releasees in
this Litigation.
       By signing and submitting this Consent to Join Form, I hereby authorize the Parties (as defined in the Notice and
Agreement) to release to the Claims Administrator all necessary personal or private information about me, including all
information on my IRS Form W-2 or W-9, for the limited purpose of processing the settlement.

Date: ___________________________ Signed: ___________________________________________________________

The address stated above is the address that we have for mailing your payment under the settlement as described in the
Notice. Please make any address corrections below:

__________________________________________________________________________________________________
First Name                             MI                  Last Name

__________________________________________________________________________________________________
Current Mailing Address                                    Apt #/Unit

__________________________________________________________________________________________________
City                                   State               Zip Code

                                                   CONFIDENTIAL
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                                       CONFIDENTIAL
THIS FORM MUST BE RETURNED TO THE CLAIMS ADMINISTRATOR AT THE ADDRESS BELOW AND
               MUST BE POSTMARKED NO LATER THAN [MONTH/DAY], 2018.
          Smith FLSA Settlement Claims Administrator
          c/o
          Address
          City, State Zip Code




                                       CONFIDENTIAL
